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                              EXHIBIT I
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Gabby Hamm

From:                   Dylan Ciciliano
Sent:                   Wednesday, March 24, 2021 6:29 AM
To:                     Connell, Monica; Gregory Garman; pneligan@neliganlaw.com; dbuncher@neliganlaw.com; Gabby
                        Hamm
Cc:                     Van Horn, Eric
Subject:                Re: Documents
Attachments:            Disclosure Questionnaires.xlsx; Additional Items.xlsx


Monica,

To circle back, I wanted to give you additional information that you requested. All of the requested items were
produced, either to the NYAG as part of its underlying investigative file or to Movants as part of these
proceedings. The exception is documents relating to Woody Phillips which Mr. Frazer initially remembered
reviewing contemporaneously with his deposition preparation. Mr. Frazer clarified that this was a mistaken
recollection. He did not review emails relating to Woody Phillips as part of his deposition preparation, nor did
any such emails refresh his recollection on topics related to the deposition.

     Item Requested                                                  Bates Range(s)
     Documents that support the calculation of the excess
     benefit transactions identified in the NRA’s 2019 IRS Form      NRA‐BK‐00036337 ‐ NRA‐BK‐00036389; NRA‐
     990 including but not limited to the specific invoices from     BK‐00079511 ‐ NRA‐BK‐00079517; Bates for
     Gayle Stanford and her related entities which were used         additional items listed in attached "Additional
     to calculate excess benefit transactions identified in the      Items" spreadsheet.
     NRA’s 2019 IRS Form 990.
                                                                   NRA‐BK‐00040468 ‐ NRA‐BK‐00040472; NRA‐BK‐
                                                                   00052353 ‐ NRA‐BK‐00052357; NRA‐BK‐
     Conflict of interest forms for officers, board members and
                                                                   00059778 ‐ NRA‐BK‐00060244; additional Bates
     key persons for 2019 and 2020.
                                                                   listed in attached "Disclosure Questionnaires"
                                                                   spreadsheet.
     Security plan – Documents referred to by Mr. LaPierre
     which was support his assertion that there was a basis for
                                                                   NRA‐BK‐00113960 ‐ NRA‐BK‐00114061
     and/or a security plan developed in relation to his
     security.
                                                                     NRA‐BK‐00098745 ‐ NRA‐BK‐00098746;
                                                                     NRA‐BK‐00067638 ‐ NRA‐BK‐00067643;
     Emails from Spray to Frazer and Rogers about Allegiance         NRA‐BK‐00113816 ‐ NRA‐BK‐00113817;
     Creative Group that Frazer reviewed.                            NRA‐BK‐00113818 ‐ NRA‐BK‐00113819;
                                                                     NRA‐BK‐00113820 ‐ NRA‐BK‐00113825;
                                                                     NRA‐BK‐00113826 ‐ NRA‐BK‐00113848
     Contracts related to Allegiance Creative Group that Mr.         NRA‐BK‐00113918 ‐ NRA‐BK‐00113940;
     Frazer reviewed                                                 NRA‐BK‐00097536 ‐ NRA‐BK‐00097537
     Business case analysis for Garman retention.                    NRA‐BK‐00113941 ‐ NRA‐BK‐00113959

     Also transcript of the Jan 2021 board meeting.                  NRA‐BK‐00113859 ‐ NRA‐BK‐00113917

     MMP memo regarding increased fees that Ms. Rowling              NRA‐BK‐00067588 ‐ NRA‐BK‐00067589;
     mentioned during her deposition                                 NRA‐BK‐00067581 ‐ NRA‐BK‐00067581




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From: Dylan Ciciliano <dciciliano@Gtg.legal>
Sent: Tuesday, March 23, 2021 11:24:07 AM
To: Connell, Monica <Monica.Connell@ag.ny.gov>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com
<pneligan@neliganlaw.com>; dbuncher@neliganlaw.com <dbuncher@neliganlaw.com>; Gabby Hamm
<ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: Re: Documents

No problem. The production includes several of the categories below and we’ll be supplementing with a few more.

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From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Tuesday, March 23, 2021 10:53:27 AM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com
<pneligan@neliganlaw.com>; dbuncher@neliganlaw.com <dbuncher@neliganlaw.com>; Gabby Hamm
<ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: RE: Documents

Sorry for the confusion. I have not yet reviewed that production yet and was not aware that it included the documents
requested below.

From: Dylan Ciciliano <dciciliano@Gtg.legal>
Sent: Tuesday, March 23, 2021 10:47 AM
To: Connell, Monica <Monica.Connell@ag.ny.gov>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com;
dbuncher@neliganlaw.com; Gabby Hamm <ghamm@gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: Re: Documents

Monica,

I sent the production this morning under a separate cover to include all counsel.

Dylan

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From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Tuesday, March 23, 2021 10:46:03 AM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com
<pneligan@neliganlaw.com>; dbuncher@neliganlaw.com <dbuncher@neliganlaw.com>; Gabby Hamm
<ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: RE: Documents

Sure, with a reservation of rights and assuming you provide information on any documents redacted or withheld
sufficient so we can determine whether to challenge such redactions or withholding.

From: Dylan Ciciliano <dciciliano@Gtg.legal>
Sent: Tuesday, March 23, 2021 12:03 AM
                                                           2
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To: Connell, Monica <Monica.Connell@ag.ny.gov>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com;
dbuncher@neliganlaw.com; Gabby Hamm <ghamm@gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: RE: Documents

[EXTERNAL]
Monica,

We can confirm that we will produce the below materials subject to privilege redactions and confidentiality designations
where appropriate, as well as minor corrections. For example, Mr. Frazer believes his recollection of reviewing emails
relating to Woody Phillips was mistaken.

Dylan T. Ciciliano, Esq.
Attorney

Phone: 725 777 3000 | Fax: 725 777 3112
GARMAN | TURNER | GORDON
7251 AMIGO STREET, SUITE 210
LAS VEGAS, NV 89119
 Visit us online at www.gtg.legal


From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Monday, March 22, 2021 4:46 PM
To: Gregory Garman <Ggarman@Gtg.legal>; Dylan Ciciliano <dciciliano@Gtg.legal>; pneligan@neliganlaw.com;
dbuncher@neliganlaw.com; Gabby Hamm <ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: Documents

Counsel,

We seek production of the following documents. We ask that you let us know tonight that you will produce the same or,
if we are mistaken, identify where we might find the same in the NRA’s production.:

         Documents that support the calculation of the excess benefit transactions identified in the NRA’s 2019 IRS Form
          990 including but not limited to the specific invoices from Gayle Stanford and her related entities which were
          used to calculate excess benefit transactions identified in the NRA’s 2019 IRS Form 990.
         Conflict of interest forms for officers, board members and key persons for 2019 and 2020.
         Security plan – Documents referred to by Mr. LaPierre which was support his assertion that there was a basis for
          and/or a security plan developed in relation to his security.
         Emails from Spray to Frazer and Rogers about Allegiance Creative Group that Frazer reviewed.
         Contracts related to Allegiance Creative Group that Mr. Frazer reviewed.
         Emails regarding Woody Phillips that Mr. Frazer testified that he had reviewed.
         Business case analyses for Neligan and Garman retention.
         Also transcript of the Jan 2021 board meeting.
         MMP memo regarding increased fees that Ms. Rowling mentioned during her deposition

Thank you,

Monica


Monica A. Connell
                                                             3
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Special Counsel
New York State Office of the Attorney General
28 Liberty Street
New York, New York 10005
212‐416‐8965
Monica.Connell@ag.ny.gov


--------------------------------------------
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                                    Additional Items


Bates Ranges
NRA‐BK‐00000001 ‐ NRA‐BK‐00000001
NRA‐BK‐00000002 ‐ NRA‐BK‐00000002
NRA‐BK‐00000003 ‐ NRA‐BK‐00000003
NRA‐BK‐00000004 ‐ NRA‐BK‐00000004
NRA‐BK‐00000005 ‐ NRA‐BK‐00000005
NRA‐BK‐00000006 ‐ NRA‐BK‐00000006
NRA‐BK‐00000007 ‐ NRA‐BK‐00000007
NRA‐BK‐00000008 ‐ NRA‐BK‐00000008
NRA‐BK‐00000009 ‐ NRA‐BK‐00000011
NRA‐BK‐00000012 ‐ NRA‐BK‐00000012
NRA‐BK‐00000013 ‐ NRA‐BK‐00000013
NRA‐BK‐00000014 ‐ NRA‐BK‐00000014
NRA‐BK‐00000015 ‐ NRA‐BK‐00000016
NRA‐BK‐00000017 ‐ NRA‐BK‐00000017
NRA‐BK‐00000018 ‐ NRA‐BK‐00000020
NRA‐BK‐00000021 ‐ NRA‐BK‐00000024
NRA‐BK‐00000025 ‐ NRA‐BK‐00000025
NRA‐BK‐00000026 ‐ NRA‐BK‐00000026
NRA‐BK‐00000027 ‐ NRA‐BK‐00000027
NRA‐BK‐00000028 ‐ NRA‐BK‐00000028
NRA‐BK‐00000029 ‐ NRA‐BK‐00000030
NRA‐BK‐00000031 ‐ NRA‐BK‐00000034
NRA‐BK‐00000035 ‐ NRA‐BK‐00000038
NRA‐BK‐00000039 ‐ NRA‐BK‐00000042
NRA‐BK‐00000043 ‐ NRA‐BK‐00000043
NRA‐BK‐00000044 ‐ NRA‐BK‐00000044
NRA‐BK‐00000045 ‐ NRA‐BK‐00000046
NRA‐BK‐00000047 ‐ NRA‐BK‐00000048
NRA‐BK‐00000049 ‐ NRA‐BK‐00000050
NRA‐BK‐00000051 ‐ NRA‐BK‐00000052
NRA‐BK‐00000053 ‐ NRA‐BK‐00000054
NRA‐BK‐00000055 ‐ NRA‐BK‐00000056
NRA‐BK‐00000057 ‐ NRA‐BK‐00000058
NRA‐BK‐00000059 ‐ NRA‐BK‐00000060
NRA‐BK‐00000061 ‐ NRA‐BK‐00000062
NRA‐BK‐00000063 ‐ NRA‐BK‐00000064
NRA‐BK‐00000065 ‐ NRA‐BK‐00000066
NRA‐BK‐00000067 ‐ NRA‐BK‐00000067
NRA‐BK‐00000068 ‐ NRA‐BK‐00000069
NRA‐BK‐00000070 ‐ NRA‐BK‐00000070
NRA‐BK‐00000071 ‐ NRA‐BK‐00000071
NRA‐BK‐00000072 ‐ NRA‐BK‐00000073
NRA‐BK‐00000074 ‐ NRA‐BK‐00000074
NRA‐BK‐00000075 ‐ NRA‐BK‐00000075
NRA‐BK‐00000076 ‐ NRA‐BK‐00000076
NRA‐BK‐00000077 ‐ NRA‐BK‐00000077
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NRA‐BK‐00000078 ‐ NRA‐BK‐00000079
NRA‐BK‐00000080 ‐ NRA‐BK‐00000080
NRA‐BK‐00000081 ‐ NRA‐BK‐00000088
NRA‐BK‐00000089 ‐ NRA‐BK‐00000090
NRA‐BK‐00000091 ‐ NRA‐BK‐00000091
NRA‐BK‐00000092 ‐ NRA‐BK‐00000093
NRA‐BK‐00000094 ‐ NRA‐BK‐00000094
NRA‐BK‐00000095 ‐ NRA‐BK‐00000095
NRA‐BK‐00000096 ‐ NRA‐BK‐00000096
NRA‐BK‐00000097 ‐ NRA‐BK‐00000097
NRA‐BK‐00000098 ‐ NRA‐BK‐00000098
NRA‐BK‐00000099 ‐ NRA‐BK‐00000099
NRA‐BK‐00000100 ‐ NRA‐BK‐00000100
NRA‐BK‐00000101 ‐ NRA‐BK‐00000102
NRA‐BK‐00000103 ‐ NRA‐BK‐00000103
NRA‐BK‐00000104 ‐ NRA‐BK‐00000104
NRA‐BK‐00000105 ‐ NRA‐BK‐00000105
NRA‐BK‐00000106 ‐ NRA‐BK‐00000107
NRA‐BK‐00000108 ‐ NRA‐BK‐00000108
NRA‐BK‐00000109 ‐ NRA‐BK‐00000110
NRA‐BK‐00000111 ‐ NRA‐BK‐00000112
NRA‐BK‐00000113 ‐ NRA‐BK‐00000116
NRA‐BK‐00000117 ‐ NRA‐BK‐00000117
NRA‐BK‐00000118 ‐ NRA‐BK‐00000121
NRA‐BK‐00000122 ‐ NRA‐BK‐00000124
NRA‐BK‐00000125 ‐ NRA‐BK‐00000125
NRA‐BK‐00000126 ‐ NRA‐BK‐00000126
NRA‐BK‐00000127 ‐ NRA‐BK‐00000127
NRA‐BK‐00000128 ‐ NRA‐BK‐00000128
NRA‐BK‐00000129 ‐ NRA‐BK‐00000130
NRA‐BK‐00000131 ‐ NRA‐BK‐00000132
NRA‐BK‐00000133 ‐ NRA‐BK‐00000135
NRA‐BK‐00000136 ‐ NRA‐BK‐00000136
NRA‐BK‐00000137 ‐ NRA‐BK‐00000137
NRA‐BK‐00000138 ‐ NRA‐BK‐00000138
NRA‐BK‐00000139 ‐ NRA‐BK‐00000140
NRA‐BK‐00000141 ‐ NRA‐BK‐00000144
NRA‐BK‐00000145 ‐ NRA‐BK‐00000146
NRA‐BK‐00000147 ‐ NRA‐BK‐00000150
NRA‐BK‐00000161 ‐ NRA‐BK‐00000162
NRA‐BK‐00000163 ‐ NRA‐BK‐00000164
NRA‐BK‐00000165 ‐ NRA‐BK‐00000165
NRA‐BK‐00000166 ‐ NRA‐BK‐00000168
NRA‐BK‐00000169 ‐ NRA‐BK‐00000174
NRA‐BK‐00000175 ‐ NRA‐BK‐00000175
NRA‐BK‐00000176 ‐ NRA‐BK‐00000176
NRA‐BK‐00000177 ‐ NRA‐BK‐00000183
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NRA‐BK‐00000184 ‐ NRA‐BK‐00000185
NRA‐BK‐00000186 ‐ NRA‐BK‐00000186
NRA‐BK‐00000187 ‐ NRA‐BK‐00000195
NRA‐BK‐00000196 ‐ NRA‐BK‐00000196
NRA‐BK‐00000197 ‐ NRA‐BK‐00000197
NRA‐BK‐00000198 ‐ NRA‐BK‐00000204
NRA‐BK‐00000205 ‐ NRA‐BK‐00000205
NRA‐BK‐00000206 ‐ NRA‐BK‐00000206
NRA‐BK‐00000207 ‐ NRA‐BK‐00000208
NRA‐BK‐00000209 ‐ NRA‐BK‐00000210
NRA‐BK‐00000211 ‐ NRA‐BK‐00000212
NRA‐BK‐00000213 ‐ NRA‐BK‐00000214
NRA‐BK‐00000215 ‐ NRA‐BK‐00000215
NRA‐BK‐00000216 ‐ NRA‐BK‐00000219
NRA‐BK‐00000220 ‐ NRA‐BK‐00000220
NRA‐BK‐00000221 ‐ NRA‐BK‐00000222
NRA‐BK‐00000223 ‐ NRA‐BK‐00000223
NRA‐BK‐00000224 ‐ NRA‐BK‐00000224
NRA‐BK‐00000225 ‐ NRA‐BK‐00000225
NRA‐BK‐00000226 ‐ NRA‐BK‐00000226
NRA‐BK‐00000227 ‐ NRA‐BK‐00000228
NRA‐BK‐00000229 ‐ NRA‐BK‐00000229
NRA‐BK‐00000230 ‐ NRA‐BK‐00000230
NRA‐BK‐00000231 ‐ NRA‐BK‐00000231
NRA‐BK‐00000232 ‐ NRA‐BK‐00000236
NRA‐BK‐00000237 ‐ NRA‐BK‐00000240
NRA‐BK‐00000241 ‐ NRA‐BK‐00000241
NRA‐BK‐00000242 ‐ NRA‐BK‐00000242
NRA‐BK‐00000243 ‐ NRA‐BK‐00000243
NRA‐BK‐00000244 ‐ NRA‐BK‐00000245
NRA‐BK‐00000246 ‐ NRA‐BK‐00000247
NRA‐BK‐00000248 ‐ NRA‐BK‐00000249
NRA‐BK‐00000250 ‐ NRA‐BK‐00000251
NRA‐BK‐00000252 ‐ NRA‐BK‐00000253
NRA‐BK‐00000254 ‐ NRA‐BK‐00000259
NRA‐BK‐00000260 ‐ NRA‐BK‐00000261
NRA‐BK‐00000334 ‐ NRA‐BK‐00000336
NRA‐BK‐00000337 ‐ NRA‐BK‐00000339
NRA‐BK‐00000340 ‐ NRA‐BK‐00000342
NRA‐BK‐00000343 ‐ NRA‐BK‐00000343
NRA‐BK‐00000344 ‐ NRA‐BK‐00000344
NRA‐BK‐00000345 ‐ NRA‐BK‐00000345
NRA‐BK‐00000346 ‐ NRA‐BK‐00000346
NRA‐BK‐00000347 ‐ NRA‐BK‐00000347
NRA‐BK‐00000348 ‐ NRA‐BK‐00000348
NRA‐BK‐00000349 ‐ NRA‐BK‐00000349
NRA‐BK‐00000350 ‐ NRA‐BK‐00000350
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NRA‐BK‐00000351 ‐ NRA‐BK‐00000351
NRA‐BK‐00000352 ‐ NRA‐BK‐00000352
NRA‐BK‐00000353 ‐ NRA‐BK‐00000353
NRA‐BK‐00000354 ‐ NRA‐BK‐00000354
NRA‐BK‐00000355 ‐ NRA‐BK‐00000355
NRA‐BK‐00000356 ‐ NRA‐BK‐00000356
NRA‐BK‐00000357 ‐ NRA‐BK‐00000358
NRA‐BK‐00000359 ‐ NRA‐BK‐00000359
NRA‐BK‐00000360 ‐ NRA‐BK‐00000361
NRA‐BK‐00000362 ‐ NRA‐BK‐00000363
NRA‐BK‐00000366 ‐ NRA‐BK‐00000377
NRA‐BK‐00000378 ‐ NRA‐BK‐00000379
NRA‐BK‐00000381 ‐ NRA‐BK‐00000382
NRA‐BK‐00000386 ‐ NRA‐BK‐00000389
NRA‐BK‐00000390 ‐ NRA‐BK‐00000390
NRA‐BK‐00000393 ‐ NRA‐BK‐00000393
NRA‐BK‐00000394 ‐ NRA‐BK‐00000395
NRA‐BK‐00000397 ‐ NRA‐BK‐00000409
NRA‐BK‐00000410 ‐ NRA‐BK‐00000412
NRA‐BK‐00000413 ‐ NRA‐BK‐00000413
NRA‐BK‐00000414 ‐ NRA‐BK‐00000414
NRA‐BK‐00000420 ‐ NRA‐BK‐00000440
NRA‐BK‐00000449 ‐ NRA‐BK‐00000450
NRA‐BK‐00000451 ‐ NRA‐BK‐00000454
NRA‐BK‐00000455 ‐ NRA‐BK‐00000458
NRA‐BK‐00000459 ‐ NRA‐BK‐00000462
NRA‐BK‐00000470 ‐ NRA‐BK‐00000471
NRA‐BK‐00000472 ‐ NRA‐BK‐00000473
NRA‐BK‐00000474 ‐ NRA‐BK‐00000475
NRA‐BK‐00000476 ‐ NRA‐BK‐00000476
NRA‐BK‐00000492 ‐ NRA‐BK‐00000493
NRA‐BK‐00000494 ‐ NRA‐BK‐00000497
NRA‐BK‐00000498 ‐ NRA‐BK‐00000499
NRA‐BK‐00000505 ‐ NRA‐BK‐00000505
NRA‐BK‐00000506 ‐ NRA‐BK‐00000508
NRA‐BK‐00000509 ‐ NRA‐BK‐00000510
NRA‐BK‐00000511 ‐ NRA‐BK‐00000511
NRA‐BK‐00000513 ‐ NRA‐BK‐00000516
NRA‐BK‐00000527 ‐ NRA‐BK‐00000527
NRA‐BK‐00000528 ‐ NRA‐BK‐00000528
NRA‐BK‐00000529 ‐ NRA‐BK‐00000529
NRA‐BK‐00000530 ‐ NRA‐BK‐00000530
NRA‐BK‐00000531 ‐ NRA‐BK‐00000531
NRA‐BK‐00000532 ‐ NRA‐BK‐00000532
NRA‐BK‐00000533 ‐ NRA‐BK‐00000533
NRA‐BK‐00000596 ‐ NRA‐BK‐00000596
NRA‐BK‐00000597 ‐ NRA‐BK‐00000597
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NRA‐BK‐00000598 ‐ NRA‐BK‐00000598
NRA‐BK‐00001574 ‐ NRA‐BK‐00001577
NRA‐BK‐00001578 ‐ NRA‐BK‐00001581
NRA‐BK‐00001582 ‐ NRA‐BK‐00001585
NRA‐BK‐00001586 ‐ NRA‐BK‐00001590
NRA‐BK‐00001896 ‐ NRA‐BK‐00001919
NRA‐BK‐00001920 ‐ NRA‐BK‐00001924
NRA‐BK‐00001925 ‐ NRA‐BK‐00001929
NRA‐BK‐00001930 ‐ NRA‐BK‐00001934
NRA‐BK‐00001935 ‐ NRA‐BK‐00001935
NRA‐BK‐00001937 ‐ NRA‐BK‐00001937
NRA‐BK‐00001938 ‐ NRA‐BK‐00001938
NRA‐BK‐00001939 ‐ NRA‐BK‐00001939
NRA‐BK‐00001940 ‐ NRA‐BK‐00001940
NRA‐BK‐00008180 ‐ NRA‐BK‐00008185
NRA‐BK‐00008186 ‐ NRA‐BK‐00008188
NRA‐BK‐00008189 ‐ NRA‐BK‐00008190
NRA‐BK‐00008191 ‐ NRA‐BK‐00008192
NRA‐BK‐00008193 ‐ NRA‐BK‐00008198
NRA‐BK‐00008199 ‐ NRA‐BK‐00008202
NRA‐BK‐00008203 ‐ NRA‐BK‐00008211
NRA‐BK‐00008212 ‐ NRA‐BK‐00008215
NRA‐BK‐00008216 ‐ NRA‐BK‐00008219
NRA‐BK‐00008220 ‐ NRA‐BK‐00008223
NRA‐BK‐00008224 ‐ NRA‐BK‐00008224
NRA‐BK‐00008225 ‐ NRA‐BK‐00008228
NRA‐BK‐00008229 ‐ NRA‐BK‐00008270
NRA‐BK‐00008271 ‐ NRA‐BK‐00008274
NRA‐BK‐00032852 ‐ NRA‐BK‐00032854
NRA‐BK‐00033210 ‐ NRA‐BK‐00033210
NRA‐BK‐00033211 ‐ NRA‐BK‐00033211
NRA‐BK‐00034812 ‐ NRA‐BK‐00034839
NRA‐BK‐00034840 ‐ NRA‐BK‐00034867
NRA‐BK‐00035025 ‐ NRA‐BK‐00035318
NRA‐BK‐00054756 ‐ NRA‐BK‐00054987
NRA‐BK‐00055038 ‐ NRA‐BK‐00055318
NRA‐BK‐00055319 ‐ NRA‐BK‐00055599
NRA‐BK‐00056042 ‐ NRA‐BK‐00056045
NRA‐BK‐00056594 ‐ NRA‐BK‐00056597
NRA‐BK‐00057232 ‐ NRA‐BK‐00057514
NRA‐BK‐00057518 ‐ NRA‐BK‐00057521
NRA‐BK‐00057522 ‐ NRA‐BK‐00057525
NRA‐BK‐00057561 ‐ NRA‐BK‐00057620
NRA‐BK‐00063487 ‐ NRA‐BK‐00063488
NRA‐BK‐00063490 ‐ NRA‐BK‐00063490
NRA‐BK‐00063491 ‐ NRA‐BK‐00063491
NRA‐BK‐00063492 ‐ NRA‐BK‐00063493
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NRA‐BK‐00063494 ‐ NRA‐BK‐00063494
NRA‐BK‐00063495 ‐ NRA‐BK‐00063496
NRA‐BK‐00063497 ‐ NRA‐BK‐00063500
NRA‐BK‐00063528 ‐ NRA‐BK‐00063546
NRA‐BK‐00063547 ‐ NRA‐BK‐00063551
NRA‐BK‐00063555 ‐ NRA‐BK‐00063556
NRA‐BK‐00063557 ‐ NRA‐BK‐00063558
NRA‐BK‐00063560 ‐ NRA‐BK‐00063560
NRA‐BK‐00063563 ‐ NRA‐BK‐00063563
NRA‐BK‐00063564 ‐ NRA‐BK‐00063564
NRA‐BK‐00063565 ‐ NRA‐BK‐00063565
NRA‐BK‐00063566 ‐ NRA‐BK‐00063566
NRA‐BK‐00063568 ‐ NRA‐BK‐00063569
NRA‐BK‐00063570 ‐ NRA‐BK‐00063571
NRA‐BK‐00063573 ‐ NRA‐BK‐00063797
NRA‐BK‐00063800 ‐ NRA‐BK‐00063800
NRA‐BK‐00063826 ‐ NRA‐BK‐00063827
NRA‐BK‐00063828 ‐ NRA‐BK‐00063828
NRA‐BK‐00063829 ‐ NRA‐BK‐00064048
NRA‐BK‐00064049 ‐ NRA‐BK‐00064049
NRA‐BK‐00064050 ‐ NRA‐BK‐00064051
NRA‐BK‐00064052 ‐ NRA‐BK‐00064052
NRA‐BK‐00064053 ‐ NRA‐BK‐00064054
NRA‐BK‐00064055 ‐ NRA‐BK‐00064055
NRA‐BK‐00064057 ‐ NRA‐BK‐00064057
NRA‐BK‐00064058 ‐ NRA‐BK‐00064059
NRA‐BK‐00064061 ‐ NRA‐BK‐00064061
NRA‐BK‐00064062 ‐ NRA‐BK‐00064062
NRA‐BK‐00064063 ‐ NRA‐BK‐00064063
NRA‐BK‐00064064 ‐ NRA‐BK‐00064064
NRA‐BK‐00064065 ‐ NRA‐BK‐00064065
NRA‐BK‐00064066 ‐ NRA‐BK‐00064066
NRA‐BK‐00064067 ‐ NRA‐BK‐00064067
NRA‐BK‐00064068 ‐ NRA‐BK‐00064068
NRA‐BK‐00064069 ‐ NRA‐BK‐00064069
NRA‐BK‐00064070 ‐ NRA‐BK‐00064070
NRA‐BK‐00064071 ‐ NRA‐BK‐00064071
NRA‐BK‐00064072 ‐ NRA‐BK‐00064072
NRA‐BK‐00064073 ‐ NRA‐BK‐00064073
NRA‐BK‐00064074 ‐ NRA‐BK‐00064076
NRA‐BK‐00064077 ‐ NRA‐BK‐00064080
NRA‐BK‐00064082 ‐ NRA‐BK‐00064082
NRA‐BK‐00064097 ‐ NRA‐BK‐00064098
NRA‐BK‐00064099 ‐ NRA‐BK‐00064100
NRA‐BK‐00064101 ‐ NRA‐BK‐00064101
NRA‐BK‐00064102 ‐ NRA‐BK‐00064102
NRA‐BK‐00064103 ‐ NRA‐BK‐00064104
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NRA‐BK‐00064105 ‐ NRA‐BK‐00064105
NRA‐BK‐00064108 ‐ NRA‐BK‐00064108
NRA‐BK‐00064120 ‐ NRA‐BK‐00064122
NRA‐BK‐00064123 ‐ NRA‐BK‐00064125
NRA‐BK‐00064132 ‐ NRA‐BK‐00064362
NRA‐BK‐00064363 ‐ NRA‐BK‐00064363
NRA‐BK‐00064364 ‐ NRA‐BK‐00064364
NRA‐BK‐00064365 ‐ NRA‐BK‐00064366
NRA‐BK‐00064367 ‐ NRA‐BK‐00064367
NRA‐BK‐00064368 ‐ NRA‐BK‐00064369
NRA‐BK‐00064407 ‐ NRA‐BK‐00064409
NRA‐BK‐00064410 ‐ NRA‐BK‐00064410
NRA‐BK‐00064474 ‐ NRA‐BK‐00064477
NRA‐BK‐00064478 ‐ NRA‐BK‐00064488
NRA‐BK‐00064489 ‐ NRA‐BK‐00064489
NRA‐BK‐00064490 ‐ NRA‐BK‐00064490
NRA‐BK‐00064521 ‐ NRA‐BK‐00064521
NRA‐BK‐00064522 ‐ NRA‐BK‐00064522
NRA‐BK‐00064523 ‐ NRA‐BK‐00064523
NRA‐BK‐00064524 ‐ NRA‐BK‐00064525
NRA‐BK‐00064527 ‐ NRA‐BK‐00064534
NRA‐BK‐00064535 ‐ NRA‐BK‐00064535
NRA‐BK‐00064537 ‐ NRA‐BK‐00064538
NRA‐BK‐00064539 ‐ NRA‐BK‐00064557
NRA‐BK‐00064564 ‐ NRA‐BK‐00064567
NRA‐BK‐00064568 ‐ NRA‐BK‐00064571
NRA‐BK‐00064572 ‐ NRA‐BK‐00064572
NRA‐BK‐00064573 ‐ NRA‐BK‐00064579
NRA‐BK‐00064580 ‐ NRA‐BK‐00064580
NRA‐BK‐00064581 ‐ NRA‐BK‐00064581
NRA‐BK‐00064582 ‐ NRA‐BK‐00064583
NRA‐BK‐00064585 ‐ NRA‐BK‐00064585
NRA‐BK‐00064587 ‐ NRA‐BK‐00064587
NRA‐BK‐00064588 ‐ NRA‐BK‐00064588
NRA‐BK‐00064592 ‐ NRA‐BK‐00064593
NRA‐BK‐00064594 ‐ NRA‐BK‐00064594
NRA‐BK‐00064595 ‐ NRA‐BK‐00064595
NRA‐BK‐00064596 ‐ NRA‐BK‐00064596
NRA‐BK‐00064597 ‐ NRA‐BK‐00064598
NRA‐BK‐00064599 ‐ NRA‐BK‐00064600
NRA‐BK‐00064601 ‐ NRA‐BK‐00064602
NRA‐BK‐00064603 ‐ NRA‐BK‐00064604
NRA‐BK‐00064605 ‐ NRA‐BK‐00064605
NRA‐BK‐00064606 ‐ NRA‐BK‐00064606
NRA‐BK‐00064607 ‐ NRA‐BK‐00064608
NRA‐BK‐00064609 ‐ NRA‐BK‐00064610
NRA‐BK‐00064611 ‐ NRA‐BK‐00064611
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NRA‐BK‐00064613 ‐ NRA‐BK‐00064617
NRA‐BK‐00064618 ‐ NRA‐BK‐00064620
NRA‐BK‐00064633 ‐ NRA‐BK‐00064635
NRA‐BK‐00064636 ‐ NRA‐BK‐00064642
NRA‐BK‐00064644 ‐ NRA‐BK‐00064644
NRA‐BK‐00064645 ‐ NRA‐BK‐00064649
NRA‐BK‐00064650 ‐ NRA‐BK‐00064659
NRA‐BK‐00064660 ‐ NRA‐BK‐00064665
NRA‐BK‐00064666 ‐ NRA‐BK‐00064669
NRA‐BK‐00064670 ‐ NRA‐BK‐00064671
NRA‐BK‐00064672 ‐ NRA‐BK‐00064676
NRA‐BK‐00064677 ‐ NRA‐BK‐00064679
NRA‐BK‐00064680 ‐ NRA‐BK‐00064681
NRA‐BK‐00064682 ‐ NRA‐BK‐00064685
NRA‐BK‐00064686 ‐ NRA‐BK‐00064688
NRA‐BK‐00064689 ‐ NRA‐BK‐00064693
NRA‐BK‐00064694 ‐ NRA‐BK‐00064696
NRA‐BK‐00064697 ‐ NRA‐BK‐00064698
NRA‐BK‐00064701 ‐ NRA‐BK‐00064714
NRA‐BK‐00064733 ‐ NRA‐BK‐00064734
NRA‐BK‐00064736 ‐ NRA‐BK‐00064738
NRA‐BK‐00064740 ‐ NRA‐BK‐00064740
NRA‐BK‐00064741 ‐ NRA‐BK‐00064741
NRA‐BK‐00064743 ‐ NRA‐BK‐00064745
NRA‐BK‐00064746 ‐ NRA‐BK‐00064746
NRA‐BK‐00064747 ‐ NRA‐BK‐00064747
NRA‐BK‐00064750 ‐ NRA‐BK‐00064751
NRA‐BK‐00064752 ‐ NRA‐BK‐00064752
NRA‐BK‐00064753 ‐ NRA‐BK‐00064753
NRA‐BK‐00064754 ‐ NRA‐BK‐00064754
NRA‐BK‐00064755 ‐ NRA‐BK‐00064755
NRA‐BK‐00064756 ‐ NRA‐BK‐00064756
NRA‐BK‐00064757 ‐ NRA‐BK‐00064757
NRA‐BK‐00064758 ‐ NRA‐BK‐00064758
NRA‐BK‐00064759 ‐ NRA‐BK‐00064759
NRA‐BK‐00064760 ‐ NRA‐BK‐00064760
NRA‐BK‐00064761 ‐ NRA‐BK‐00064761
NRA‐BK‐00064762 ‐ NRA‐BK‐00064762
NRA‐BK‐00064763 ‐ NRA‐BK‐00064763
NRA‐BK‐00064764 ‐ NRA‐BK‐00064766
NRA‐BK‐00064767 ‐ NRA‐BK‐00064775
NRA‐BK‐00064777 ‐ NRA‐BK‐00064786
NRA‐BK‐00064787 ‐ NRA‐BK‐00064847
NRA‐BK‐00064848 ‐ NRA‐BK‐00064856
NRA‐BK‐00064864 ‐ NRA‐BK‐00064868
NRA‐BK‐00064874 ‐ NRA‐BK‐00064876
NRA‐BK‐00064877 ‐ NRA‐BK‐00064877
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                                    Additional Items


NRA‐BK‐00064883 ‐ NRA‐BK‐00064883
NRA‐BK‐00064886 ‐ NRA‐BK‐00064886
NRA‐BK‐00064887 ‐ NRA‐BK‐00064891
NRA‐BK‐00064892 ‐ NRA‐BK‐00064892
NRA‐BK‐00064893 ‐ NRA‐BK‐00064893
NRA‐BK‐00064894 ‐ NRA‐BK‐00064894
NRA‐BK‐00064895 ‐ NRA‐BK‐00064895
NRA‐BK‐00064896 ‐ NRA‐BK‐00064896
NRA‐BK‐00064897 ‐ NRA‐BK‐00064897
NRA‐BK‐00065088 ‐ NRA‐BK‐00065088
NRA‐BK‐00065090 ‐ NRA‐BK‐00065314
NRA‐BK‐00065315 ‐ NRA‐BK‐00065316
NRA‐BK‐00065317 ‐ NRA‐BK‐00065318
NRA‐BK‐00065319 ‐ NRA‐BK‐00065319
NRA‐BK‐00065320 ‐ NRA‐BK‐00065320
NRA‐BK‐00065329 ‐ NRA‐BK‐00065330
NRA‐BK‐00065339 ‐ NRA‐BK‐00065339
NRA‐BK‐00065340 ‐ NRA‐BK‐00065341
NRA‐BK‐00065342 ‐ NRA‐BK‐00065343
NRA‐BK‐00065344 ‐ NRA‐BK‐00065345
NRA‐BK‐00065346 ‐ NRA‐BK‐00065347
NRA‐BK‐00065348 ‐ NRA‐BK‐00065349
NRA‐BK‐00065350 ‐ NRA‐BK‐00065351
NRA‐BK‐00065352 ‐ NRA‐BK‐00065353
NRA‐BK‐00065354 ‐ NRA‐BK‐00065355
NRA‐BK‐00065356 ‐ NRA‐BK‐00065357
NRA‐BK‐00065358 ‐ NRA‐BK‐00065359
NRA‐BK‐00065360 ‐ NRA‐BK‐00065361
NRA‐BK‐00065362 ‐ NRA‐BK‐00065363
NRA‐BK‐00065364 ‐ NRA‐BK‐00065365
NRA‐BK‐00065366 ‐ NRA‐BK‐00065367
NRA‐BK‐00065368 ‐ NRA‐BK‐00065369
NRA‐BK‐00065371 ‐ NRA‐BK‐00065595
NRA‐BK‐00065645 ‐ NRA‐BK‐00065646
NRA‐BK‐00065647 ‐ NRA‐BK‐00065647
NRA‐BK‐00065780 ‐ NRA‐BK‐00065780
NRA‐BK‐00065781 ‐ NRA‐BK‐00065781
NRA‐BK‐00065782 ‐ NRA‐BK‐00065782
NRA‐BK‐00065783 ‐ NRA‐BK‐00065783
NRA‐BK‐00065804 ‐ NRA‐BK‐00065875
NRA‐BK‐00065876 ‐ NRA‐BK‐00065876
NRA‐BK‐00065907 ‐ NRA‐BK‐00065907
NRA‐BK‐00065909 ‐ NRA‐BK‐00065923
NRA‐BK‐00066030 ‐ NRA‐BK‐00066030
NRA‐BK‐00066032 ‐ NRA‐BK‐00066032
NRA‐BK‐00066034 ‐ NRA‐BK‐00066046
NRA‐BK‐00066131 ‐ NRA‐BK‐00066131
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NRA‐BK‐00066134 ‐ NRA‐BK‐00066358
NRA‐BK‐00066454 ‐ NRA‐BK‐00066481
NRA‐BK‐00067546 ‐ NRA‐BK‐00067573
NRA‐BK‐00068907 ‐ NRA‐BK‐00068919
NRA‐BK‐00069060 ‐ NRA‐BK‐00069060
NRA‐BK‐00069117 ‐ NRA‐BK‐00069117
NRA‐BK‐00069118 ‐ NRA‐BK‐00069118
NRA‐BK‐00069119 ‐ NRA‐BK‐00069119
NRA‐BK‐00069120 ‐ NRA‐BK‐00069120
NRA‐BK‐00069121 ‐ NRA‐BK‐00069121
NRA‐BK‐00069122 ‐ NRA‐BK‐00069122
NRA‐BK‐00069123 ‐ NRA‐BK‐00069126
NRA‐BK‐00070825 ‐ NRA‐BK‐00070825
NRA‐BK‐00070827 ‐ NRA‐BK‐00070836
NRA‐BK‐00070837 ‐ NRA‐BK‐00070844
NRA‐BK‐00071287 ‐ NRA‐BK‐00071287
NRA‐BK‐00071288 ‐ NRA‐BK‐00071288
NRA‐BK‐00071289 ‐ NRA‐BK‐00071289
NRA‐BK‐00071310 ‐ NRA‐BK‐00071310
NRA‐BK‐00081718 ‐ NRA‐BK‐00081720
NRA‐BK‐00081721 ‐ NRA‐BK‐00081736
NRA‐BK‐00081737 ‐ NRA‐BK‐00081741
NRA‐BK‐00081742 ‐ NRA‐BK‐00081775
NRA‐BK‐00081776 ‐ NRA‐BK‐00081784
NRA‐BK‐00081785 ‐ NRA‐BK‐00081828
NRA‐BK‐00081829 ‐ NRA‐BK‐00081833
NRA‐BK‐00081834 ‐ NRA‐BK‐00081835
NRA‐BK‐00081836 ‐ NRA‐BK‐00081875
NRA‐BK‐00081876 ‐ NRA‐BK‐00081877
NRA‐BK‐00081878 ‐ NRA‐BK‐00081884
NRA‐BK‐00081885 ‐ NRA‐BK‐00081888
NRA‐BK‐00081889 ‐ NRA‐BK‐00081889
NRA‐BK‐00081890 ‐ NRA‐BK‐00081900
NRA‐BK‐00081901 ‐ NRA‐BK‐00081937
NRA‐BK‐00081938 ‐ NRA‐BK‐00081940
NRA‐BK‐00081941 ‐ NRA‐BK‐00081945
NRA‐BK‐00081946 ‐ NRA‐BK‐00081963
NRA‐BK‐00081964 ‐ NRA‐BK‐00081968
NRA‐BK‐00081969 ‐ NRA‐BK‐00081971
NRA‐BK‐00081972 ‐ NRA‐BK‐00081983
NRA‐BK‐00081984 ‐ NRA‐BK‐00081990
NRA‐BK‐00081991 ‐ NRA‐BK‐00081992
NRA‐BK‐00081993 ‐ NRA‐BK‐00081997
NRA‐BK‐00081998 ‐ NRA‐BK‐00082004
NRA‐BK‐00082005 ‐ NRA‐BK‐00082019
NRA‐BK‐00082020 ‐ NRA‐BK‐00082030
NRA‐BK‐00082031 ‐ NRA‐BK‐00082036
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NRA‐BK‐00082037 ‐ NRA‐BK‐00082046
NRA‐BK‐00082047 ‐ NRA‐BK‐00082053
NRA‐BK‐00082054 ‐ NRA‐BK‐00082092
NRA‐BK‐00082093 ‐ NRA‐BK‐00082139
NRA‐BK‐00082140 ‐ NRA‐BK‐00082152
NRA‐BK‐00082153 ‐ NRA‐BK‐00082157
NRA‐BK‐00082158 ‐ NRA‐BK‐00082190
NRA‐BK‐00082191 ‐ NRA‐BK‐00082196
NRA‐BK‐00082197 ‐ NRA‐BK‐00082205
NRA‐BK‐00082206 ‐ NRA‐BK‐00082207
NRA‐BK‐00082208 ‐ NRA‐BK‐00082232
NRA‐BK‐00082233 ‐ NRA‐BK‐00082236
NRA‐BK‐00082237 ‐ NRA‐BK‐00082257
NRA‐BK‐00082258 ‐ NRA‐BK‐00082265
NRA‐BK‐00082266 ‐ NRA‐BK‐00082269
NRA‐BK‐00082270 ‐ NRA‐BK‐00082280
NRA‐BK‐00083016 ‐ NRA‐BK‐00083019
NRA‐BK‐00083141 ‐ NRA‐BK‐00083155
NRA‐BK‐00083901 ‐ NRA‐BK‐00083902
NRA‐BK‐00083907 ‐ NRA‐BK‐00083908
NRA‐BK‐00083909 ‐ NRA‐BK‐00083919
NRA‐BK‐00083920 ‐ NRA‐BK‐00083921
NRA‐BK‐00083926 ‐ NRA‐BK‐00083932
NRA‐BK‐00083937 ‐ NRA‐BK‐00083949
NRA‐BK‐00083952 ‐ NRA‐BK‐00083952
NRA‐BK‐00083955 ‐ NRA‐BK‐00083956
NRA‐BK‐00083957 ‐ NRA‐BK‐00083959
NRA‐BK‐00083965 ‐ NRA‐BK‐00083969
NRA‐BK‐00084331 ‐ NRA‐BK‐00084333
NRA‐BK‐00084334 ‐ NRA‐BK‐00084350
NRA‐BK‐00084351 ‐ NRA‐BK‐00084352
NRA‐BK‐00084353 ‐ NRA‐BK‐00084356
NRA‐BK‐00084357 ‐ NRA‐BK‐00084368
NRA‐BK‐00084369 ‐ NRA‐BK‐00084376
NRA‐BK‐00084377 ‐ NRA‐BK‐00084412
NRA‐BK‐00084413 ‐ NRA‐BK‐00084424
NRA‐BK‐00084425 ‐ NRA‐BK‐00084429
NRA‐BK‐00084430 ‐ NRA‐BK‐00084432
NRA‐BK‐00084433 ‐ NRA‐BK‐00084470
NRA‐BK‐00084471 ‐ NRA‐BK‐00084506
NRA‐BK‐00084507 ‐ NRA‐BK‐00084509
NRA‐BK‐00084510 ‐ NRA‐BK‐00084515
NRA‐BK‐00084516 ‐ NRA‐BK‐00084517
NRA‐BK‐00084518 ‐ NRA‐BK‐00084523
NRA‐BK‐00084524 ‐ NRA‐BK‐00084528
NRA‐BK‐00084529 ‐ NRA‐BK‐00084575
NRA‐BK‐00084576 ‐ NRA‐BK‐00084584
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                                    Additional Items


NRA‐BK‐00084585 ‐ NRA‐BK‐00084590
NRA‐BK‐00084591 ‐ NRA‐BK‐00084602
NRA‐BK‐00084603 ‐ NRA‐BK‐00084604
NRA‐BK‐00084605 ‐ NRA‐BK‐00084611
NRA‐BK‐00084612 ‐ NRA‐BK‐00084624
NRA‐BK‐00084625 ‐ NRA‐BK‐00084626
NRA‐BK‐00084627 ‐ NRA‐BK‐00084639
NRA‐BK‐00084640 ‐ NRA‐BK‐00084642
NRA‐BK‐00084643 ‐ NRA‐BK‐00084658
NRA‐BK‐00084661 ‐ NRA‐BK‐00084662
NRA‐BK‐00084663 ‐ NRA‐BK‐00084664
NRA‐BK‐00084665 ‐ NRA‐BK‐00084678
NRA‐BK‐00084679 ‐ NRA‐BK‐00084680
NRA‐BK‐00084681 ‐ NRA‐BK‐00084682
NRA‐BK‐00084683 ‐ NRA‐BK‐00084684
NRA‐BK‐00084685 ‐ NRA‐BK‐00084690
NRA‐BK‐00084691 ‐ NRA‐BK‐00084692
NRA‐BK‐00084694 ‐ NRA‐BK‐00084702
NRA‐BK‐00084703 ‐ NRA‐BK‐00084706
NRA‐BK‐00084707 ‐ NRA‐BK‐00084708
NRA‐BK‐00084709 ‐ NRA‐BK‐00084710
NRA‐BK‐00084711 ‐ NRA‐BK‐00084712
NRA‐BK‐00084713 ‐ NRA‐BK‐00084719
NRA‐BK‐00084720 ‐ NRA‐BK‐00084721
NRA‐BK‐00084722 ‐ NRA‐BK‐00084725
NRA‐BK‐00084726 ‐ NRA‐BK‐00084727
NRA‐BK‐00084728 ‐ NRA‐BK‐00084729
NRA‐BK‐00084730 ‐ NRA‐BK‐00084731
NRA‐BK‐00084777 ‐ NRA‐BK‐00084778
NRA‐BK‐00084779 ‐ NRA‐BK‐00084781
NRA‐BK‐00084784 ‐ NRA‐BK‐00084785
NRA‐BK‐00084786 ‐ NRA‐BK‐00084787
NRA‐BK‐00084788 ‐ NRA‐BK‐00084791
NRA‐BK‐00084792 ‐ NRA‐BK‐00084793
NRA‐BK‐00084794 ‐ NRA‐BK‐00084797
NRA‐BK‐00084798 ‐ NRA‐BK‐00084799
NRA‐BK‐00084800 ‐ NRA‐BK‐00084801
NRA‐BK‐00084802 ‐ NRA‐BK‐00084803
NRA‐BK‐00084804 ‐ NRA‐BK‐00084811
NRA‐BK‐00084812 ‐ NRA‐BK‐00084820
NRA‐BK‐00084821 ‐ NRA‐BK‐00084828
NRA‐BK‐00084829 ‐ NRA‐BK‐00084830
NRA‐BK‐00084831 ‐ NRA‐BK‐00084832
NRA‐BK‐00084833 ‐ NRA‐BK‐00084836
NRA‐BK‐00084837 ‐ NRA‐BK‐00084839
NRA‐BK‐00084840 ‐ NRA‐BK‐00084841
NRA‐BK‐00084842 ‐ NRA‐BK‐00084851
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                                    Additional Items


NRA‐BK‐00084852 ‐ NRA‐BK‐00084854
NRA‐BK‐00084855 ‐ NRA‐BK‐00084857
NRA‐BK‐00084858 ‐ NRA‐BK‐00084859
NRA‐BK‐00084860 ‐ NRA‐BK‐00084865
NRA‐BK‐00084866 ‐ NRA‐BK‐00084867
NRA‐BK‐00084870 ‐ NRA‐BK‐00084876
NRA‐BK‐00084877 ‐ NRA‐BK‐00084878
NRA‐BK‐00084879 ‐ NRA‐BK‐00084887
NRA‐BK‐00084889 ‐ NRA‐BK‐00084897
NRA‐BK‐00084898 ‐ NRA‐BK‐00084899
NRA‐BK‐00084900 ‐ NRA‐BK‐00084903
NRA‐BK‐00084904 ‐ NRA‐BK‐00084907
NRA‐BK‐00084908 ‐ NRA‐BK‐00084909
NRA‐BK‐00084910 ‐ NRA‐BK‐00084913
NRA‐BK‐00084914 ‐ NRA‐BK‐00084921
NRA‐BK‐00084922 ‐ NRA‐BK‐00084924
NRA‐BK‐00084925 ‐ NRA‐BK‐00084926
NRA‐BK‐00084927 ‐ NRA‐BK‐00084930
NRA‐BK‐00084931 ‐ NRA‐BK‐00084932
NRA‐BK‐00084933 ‐ NRA‐BK‐00084940
NRA‐BK‐00084941 ‐ NRA‐BK‐00084942
NRA‐BK‐00084943 ‐ NRA‐BK‐00084944
NRA‐BK‐00084945 ‐ NRA‐BK‐00084946
NRA‐BK‐00084947 ‐ NRA‐BK‐00084954
NRA‐BK‐00084955 ‐ NRA‐BK‐00084956
NRA‐BK‐00084957 ‐ NRA‐BK‐00084958
NRA‐BK‐00084959 ‐ NRA‐BK‐00084969
NRA‐BK‐00084970 ‐ NRA‐BK‐00084971
NRA‐BK‐00084972 ‐ NRA‐BK‐00084980
NRA‐BK‐00084981 ‐ NRA‐BK‐00084988
NRA‐BK‐00084989 ‐ NRA‐BK‐00084990
NRA‐BK‐00084991 ‐ NRA‐BK‐00084993
NRA‐BK‐00084994 ‐ NRA‐BK‐00084995
NRA‐BK‐00084996 ‐ NRA‐BK‐00085011
NRA‐BK‐00085012 ‐ NRA‐BK‐00085014
NRA‐BK‐00085015 ‐ NRA‐BK‐00085016
NRA‐BK‐00085017 ‐ NRA‐BK‐00085018
NRA‐BK‐00085019 ‐ NRA‐BK‐00085024
NRA‐BK‐00085025 ‐ NRA‐BK‐00085028
NRA‐BK‐00085245 ‐ NRA‐BK‐00085254
NRA‐BK‐00086113 ‐ NRA‐BK‐00086118
NRA‐BK‐00086119 ‐ NRA‐BK‐00086120
NRA‐BK‐00086121 ‐ NRA‐BK‐00086122
NRA‐BK‐00086123 ‐ NRA‐BK‐00086124
NRA‐BK‐00086125 ‐ NRA‐BK‐00086126
NRA‐BK‐00086127 ‐ NRA‐BK‐00086128
NRA‐BK‐00086129 ‐ NRA‐BK‐00086130
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                                    Additional Items


NRA‐BK‐00086131 ‐ NRA‐BK‐00086133
NRA‐BK‐00086134 ‐ NRA‐BK‐00086135
NRA‐BK‐00086136 ‐ NRA‐BK‐00086145
NRA‐BK‐00086146 ‐ NRA‐BK‐00086157
NRA‐BK‐00086158 ‐ NRA‐BK‐00086159
NRA‐BK‐00086160 ‐ NRA‐BK‐00086161
NRA‐BK‐00086163 ‐ NRA‐BK‐00086165
NRA‐BK‐00086166 ‐ NRA‐BK‐00086167
NRA‐BK‐00086168 ‐ NRA‐BK‐00086171
NRA‐BK‐00086172 ‐ NRA‐BK‐00086182
NRA‐BK‐00086183 ‐ NRA‐BK‐00086184
NRA‐BK‐00086185 ‐ NRA‐BK‐00086195
NRA‐BK‐00086196 ‐ NRA‐BK‐00086197
NRA‐BK‐00086198 ‐ NRA‐BK‐00086199
NRA‐BK‐00086200 ‐ NRA‐BK‐00086203
NRA‐BK‐00086204 ‐ NRA‐BK‐00086205
NRA‐BK‐00086206 ‐ NRA‐BK‐00086208
NRA‐BK‐00086211 ‐ NRA‐BK‐00086212
NRA‐BK‐00086213 ‐ NRA‐BK‐00086224
NRA‐BK‐00086226 ‐ NRA‐BK‐00086232
NRA‐BK‐00086233 ‐ NRA‐BK‐00086234
NRA‐BK‐00086235 ‐ NRA‐BK‐00086246
NRA‐BK‐00086247 ‐ NRA‐BK‐00086257
NRA‐BK‐00086258 ‐ NRA‐BK‐00086265
NRA‐BK‐00086266 ‐ NRA‐BK‐00086267
NRA‐BK‐00086268 ‐ NRA‐BK‐00086269
NRA‐BK‐00086270 ‐ NRA‐BK‐00086271
NRA‐BK‐00086272 ‐ NRA‐BK‐00086277
NRA‐BK‐00086279 ‐ NRA‐BK‐00086280
NRA‐BK‐00086281 ‐ NRA‐BK‐00086282
NRA‐BK‐00086283 ‐ NRA‐BK‐00086284
NRA‐BK‐00086285 ‐ NRA‐BK‐00086289
NRA‐BK‐00086290 ‐ NRA‐BK‐00086292
NRA‐BK‐00086294 ‐ NRA‐BK‐00086295
NRA‐BK‐00086296 ‐ NRA‐BK‐00086315
NRA‐BK‐00086316 ‐ NRA‐BK‐00086320
NRA‐BK‐00086321 ‐ NRA‐BK‐00086339
NRA‐BK‐00086340 ‐ NRA‐BK‐00086343
NRA‐BK‐00086344 ‐ NRA‐BK‐00086346
NRA‐BK‐00086347 ‐ NRA‐BK‐00086348
NRA‐BK‐00086349 ‐ NRA‐BK‐00086350
NRA‐BK‐00086351 ‐ NRA‐BK‐00086352
NRA‐BK‐00086353 ‐ NRA‐BK‐00086359
NRA‐BK‐00086360 ‐ NRA‐BK‐00086373
NRA‐BK‐00086374 ‐ NRA‐BK‐00086376
NRA‐BK‐00086377 ‐ NRA‐BK‐00086378
NRA‐BK‐00086379 ‐ NRA‐BK‐00086380
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                                    Additional Items


NRA‐BK‐00086381 ‐ NRA‐BK‐00086383
NRA‐BK‐00086384 ‐ NRA‐BK‐00086391
NRA‐BK‐00086392 ‐ NRA‐BK‐00086393
NRA‐BK‐00086394 ‐ NRA‐BK‐00086395
NRA‐BK‐00086396 ‐ NRA‐BK‐00086403
NRA‐BK‐00086404 ‐ NRA‐BK‐00086405
NRA‐BK‐00086406 ‐ NRA‐BK‐00086421
NRA‐BK‐00086422 ‐ NRA‐BK‐00086431
NRA‐BK‐00086432 ‐ NRA‐BK‐00086434
NRA‐BK‐00086435 ‐ NRA‐BK‐00086436
NRA‐BK‐00086437 ‐ NRA‐BK‐00086438
NRA‐BK‐00086439 ‐ NRA‐BK‐00086451
NRA‐BK‐00086452 ‐ NRA‐BK‐00086454
NRA‐BK‐00086455 ‐ NRA‐BK‐00086461
NRA‐BK‐00086464 ‐ NRA‐BK‐00086467
NRA‐BK‐00086470 ‐ NRA‐BK‐00086490
NRA‐BK‐00086492 ‐ NRA‐BK‐00086502
NRA‐BK‐00086503 ‐ NRA‐BK‐00086510
NRA‐BK‐00086511 ‐ NRA‐BK‐00086512
NRA‐BK‐00086513 ‐ NRA‐BK‐00086514
NRA‐BK‐00086515 ‐ NRA‐BK‐00086517
NRA‐BK‐00086518 ‐ NRA‐BK‐00086519
NRA‐BK‐00086520 ‐ NRA‐BK‐00086521
NRA‐BK‐00086522 ‐ NRA‐BK‐00086523
NRA‐BK‐00086524 ‐ NRA‐BK‐00086525
NRA‐BK‐00086526 ‐ NRA‐BK‐00086527
NRA‐BK‐00086528 ‐ NRA‐BK‐00086529
NRA‐BK‐00086530 ‐ NRA‐BK‐00086532
NRA‐BK‐00086533 ‐ NRA‐BK‐00086534
NRA‐BK‐00086535 ‐ NRA‐BK‐00086536
NRA‐BK‐00086537 ‐ NRA‐BK‐00086538
NRA‐BK‐00086539 ‐ NRA‐BK‐00086540
NRA‐BK‐00086541 ‐ NRA‐BK‐00086542
NRA‐BK‐00086543 ‐ NRA‐BK‐00086545
NRA‐BK‐00086546 ‐ NRA‐BK‐00086547
NRA‐BK‐00086548 ‐ NRA‐BK‐00086549
NRA‐BK‐00086550 ‐ NRA‐BK‐00086552
NRA‐BK‐00086553 ‐ NRA‐BK‐00086554
NRA‐BK‐00086555 ‐ NRA‐BK‐00086556
NRA‐BK‐00087571 ‐ NRA‐BK‐00087572
NRA‐BK‐00087573 ‐ NRA‐BK‐00087574
NRA‐BK‐00087575 ‐ NRA‐BK‐00087582
NRA‐BK‐00087583 ‐ NRA‐BK‐00087584
NRA‐BK‐00087585 ‐ NRA‐BK‐00087595
NRA‐BK‐00087605 ‐ NRA‐BK‐00087610
NRA‐BK‐00087611 ‐ NRA‐BK‐00087612
NRA‐BK‐00087617 ‐ NRA‐BK‐00087618
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NRA‐BK‐00087619 ‐ NRA‐BK‐00087622
NRA‐BK‐00087623 ‐ NRA‐BK‐00087624
NRA‐BK‐00087629 ‐ NRA‐BK‐00087630
NRA‐BK‐00087631 ‐ NRA‐BK‐00087636
NRA‐BK‐00087637 ‐ NRA‐BK‐00087637
NRA‐BK‐00087638 ‐ NRA‐BK‐00087641
NRA‐BK‐00087643 ‐ NRA‐BK‐00087665
NRA‐BK‐00087666 ‐ NRA‐BK‐00087667
NRA‐BK‐00087668 ‐ NRA‐BK‐00087669
NRA‐BK‐00087670 ‐ NRA‐BK‐00087671
NRA‐BK‐00087677 ‐ NRA‐BK‐00087678
NRA‐BK‐00087679 ‐ NRA‐BK‐00087680
NRA‐BK‐00087681 ‐ NRA‐BK‐00087689
NRA‐BK‐00087690 ‐ NRA‐BK‐00087691
NRA‐BK‐00087692 ‐ NRA‐BK‐00087696
NRA‐BK‐00087697 ‐ NRA‐BK‐00087703
NRA‐BK‐00087704 ‐ NRA‐BK‐00087706
NRA‐BK‐00087715 ‐ NRA‐BK‐00087717
NRA‐BK‐00087718 ‐ NRA‐BK‐00087719
NRA‐BK‐00087720 ‐ NRA‐BK‐00087723
NRA‐BK‐00087724 ‐ NRA‐BK‐00087725
NRA‐BK‐00087726 ‐ NRA‐BK‐00087727
NRA‐BK‐00087728 ‐ NRA‐BK‐00087730
NRA‐BK‐00087731 ‐ NRA‐BK‐00087733
NRA‐BK‐00087734 ‐ NRA‐BK‐00087743
NRA‐BK‐00087744 ‐ NRA‐BK‐00087759
NRA‐BK‐00087760 ‐ NRA‐BK‐00087761
NRA‐BK‐00087762 ‐ NRA‐BK‐00087767
NRA‐BK‐00087768 ‐ NRA‐BK‐00087771
NRA‐BK‐00087772 ‐ NRA‐BK‐00087789
NRA‐BK‐00087790 ‐ NRA‐BK‐00087819
NRA‐BK‐00087820 ‐ NRA‐BK‐00087829
NRA‐BK‐00087830 ‐ NRA‐BK‐00087842
NRA‐BK‐00087843 ‐ NRA‐BK‐00087846
NRA‐BK‐00087847 ‐ NRA‐BK‐00087848
NRA‐BK‐00087849 ‐ NRA‐BK‐00087870
NRA‐BK‐00087871 ‐ NRA‐BK‐00087887
NRA‐BK‐00087888 ‐ NRA‐BK‐00087890
NRA‐BK‐00087891 ‐ NRA‐BK‐00087903
NRA‐BK‐00087904 ‐ NRA‐BK‐00087910
NRA‐BK‐00087911 ‐ NRA‐BK‐00087931
NRA‐BK‐00087932 ‐ NRA‐BK‐00087933
NRA‐BK‐00087934 ‐ NRA‐BK‐00087958
NRA‐BK‐00087959 ‐ NRA‐BK‐00087993
NRA‐BK‐00087994 ‐ NRA‐BK‐00088017
NRA‐BK‐00088018 ‐ NRA‐BK‐00088028
NRA‐BK‐00088029 ‐ NRA‐BK‐00088037
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NRA‐BK‐00088038 ‐ NRA‐BK‐00088078
NRA‐BK‐00088079 ‐ NRA‐BK‐00088111
NRA‐BK‐00088112 ‐ NRA‐BK‐00088145
NRA‐BK‐00088146 ‐ NRA‐BK‐00088160
NRA‐BK‐00088161 ‐ NRA‐BK‐00088182
NRA‐BK‐00088183 ‐ NRA‐BK‐00088191
NRA‐BK‐00088591 ‐ NRA‐BK‐00088595
NRA‐BK‐00088929 ‐ NRA‐BK‐00088980
NRA‐BK‐00089147 ‐ NRA‐BK‐00089158
NRA‐BK‐00089159 ‐ NRA‐BK‐00089168
NRA‐BK‐00089204 ‐ NRA‐BK‐00089216
NRA‐BK‐00089218 ‐ NRA‐BK‐00089218
NRA‐BK‐00089219 ‐ NRA‐BK‐00089241
NRA‐BK‐00089242 ‐ NRA‐BK‐00089251
NRA‐BK‐00089255 ‐ NRA‐BK‐00089269
NRA‐BK‐00089270 ‐ NRA‐BK‐00089274
NRA‐BK‐00089275 ‐ NRA‐BK‐00089285
NRA‐BK‐00089286 ‐ NRA‐BK‐00089301
NRA‐BK‐00089302 ‐ NRA‐BK‐00089313
NRA‐BK‐00089314 ‐ NRA‐BK‐00089328
NRA‐BK‐00089329 ‐ NRA‐BK‐00089336
NRA‐BK‐00089337 ‐ NRA‐BK‐00089347
NRA‐BK‐00089360 ‐ NRA‐BK‐00089372
NRA‐BK‐00089376 ‐ NRA‐BK‐00089385
NRA‐BK‐00089386 ‐ NRA‐BK‐00089386
NRA‐BK‐00090763 ‐ NRA‐BK‐00090904
NRA‐BK‐00091538 ‐ NRA‐BK‐00091553
NRA‐BK‐00091827 ‐ NRA‐BK‐00091833
NRA‐BK‐00091834 ‐ NRA‐BK‐00091835
NRA‐BK‐00091836 ‐ NRA‐BK‐00091837
NRA‐BK‐00091838 ‐ NRA‐BK‐00091849
NRA‐BK‐00091850 ‐ NRA‐BK‐00091856
NRA‐BK‐00091857 ‐ NRA‐BK‐00091873
NRA‐BK‐00091874 ‐ NRA‐BK‐00091895
NRA‐BK‐00091896 ‐ NRA‐BK‐00091899
NRA‐BK‐00091900 ‐ NRA‐BK‐00091902
NRA‐BK‐00091903 ‐ NRA‐BK‐00091904
NRA‐BK‐00091905 ‐ NRA‐BK‐00091907
NRA‐BK‐00091908 ‐ NRA‐BK‐00091909
NRA‐BK‐00091910 ‐ NRA‐BK‐00091911
NRA‐BK‐00091912 ‐ NRA‐BK‐00091915
NRA‐BK‐00091916 ‐ NRA‐BK‐00091919
NRA‐BK‐00091920 ‐ NRA‐BK‐00091924
NRA‐BK‐00091925 ‐ NRA‐BK‐00091927
NRA‐BK‐00091928 ‐ NRA‐BK‐00091929
NRA‐BK‐00091930 ‐ NRA‐BK‐00091931
NRA‐BK‐00091932 ‐ NRA‐BK‐00091934
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NRA‐BK‐00091935 ‐ NRA‐BK‐00091937
NRA‐BK‐00091938 ‐ NRA‐BK‐00091939
NRA‐BK‐00091940 ‐ NRA‐BK‐00091942
NRA‐BK‐00091943 ‐ NRA‐BK‐00091968
NRA‐BK‐00091969 ‐ NRA‐BK‐00091981
NRA‐BK‐00091982 ‐ NRA‐BK‐00091983
NRA‐BK‐00091985 ‐ NRA‐BK‐00091989
NRA‐BK‐00091990 ‐ NRA‐BK‐00092015
NRA‐BK‐00092016 ‐ NRA‐BK‐00092027
NRA‐BK‐00092028 ‐ NRA‐BK‐00092029
NRA‐BK‐00092030 ‐ NRA‐BK‐00092031
NRA‐BK‐00092032 ‐ NRA‐BK‐00092035
NRA‐BK‐00092036 ‐ NRA‐BK‐00092042
NRA‐BK‐00092043 ‐ NRA‐BK‐00092058
NRA‐BK‐00092059 ‐ NRA‐BK‐00092061
NRA‐BK‐00092062 ‐ NRA‐BK‐00092066
NRA‐BK‐00092067 ‐ NRA‐BK‐00092068
NRA‐BK‐00092069 ‐ NRA‐BK‐00092098
NRA‐BK‐00092099 ‐ NRA‐BK‐00092101
NRA‐BK‐00092102 ‐ NRA‐BK‐00092103
NRA‐BK‐00092104 ‐ NRA‐BK‐00092106
NRA‐BK‐00092107 ‐ NRA‐BK‐00092108
NRA‐BK‐00092109 ‐ NRA‐BK‐00092112
NRA‐BK‐00092113 ‐ NRA‐BK‐00092127
NRA‐BK‐00092128 ‐ NRA‐BK‐00092129
NRA‐BK‐00092131 ‐ NRA‐BK‐00092132
NRA‐BK‐00092133 ‐ NRA‐BK‐00092135
NRA‐BK‐00092136 ‐ NRA‐BK‐00092158
NRA‐BK‐00092159 ‐ NRA‐BK‐00092160
NRA‐BK‐00092161 ‐ NRA‐BK‐00092170
NRA‐BK‐00092171 ‐ NRA‐BK‐00092171
NRA‐BK‐00092172 ‐ NRA‐BK‐00092181
NRA‐BK‐00092182 ‐ NRA‐BK‐00092194
NRA‐BK‐00092195 ‐ NRA‐BK‐00092196
NRA‐BK‐00092197 ‐ NRA‐BK‐00092208
NRA‐BK‐00092209 ‐ NRA‐BK‐00092211
NRA‐BK‐00092212 ‐ NRA‐BK‐00092213
NRA‐BK‐00092214 ‐ NRA‐BK‐00092232
NRA‐BK‐00092233 ‐ NRA‐BK‐00092241
NRA‐BK‐00092242 ‐ NRA‐BK‐00092245
NRA‐BK‐00092246 ‐ NRA‐BK‐00092247
NRA‐BK‐00092248 ‐ NRA‐BK‐00092249
NRA‐BK‐00092250 ‐ NRA‐BK‐00092251
NRA‐BK‐00092252 ‐ NRA‐BK‐00092254
NRA‐BK‐00092255 ‐ NRA‐BK‐00092256
NRA‐BK‐00092257 ‐ NRA‐BK‐00092266
NRA‐BK‐00092267 ‐ NRA‐BK‐00092271
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NRA‐BK‐00092273 ‐ NRA‐BK‐00092275
NRA‐BK‐00092276 ‐ NRA‐BK‐00092303
NRA‐BK‐00092304 ‐ NRA‐BK‐00092305
NRA‐BK‐00092306 ‐ NRA‐BK‐00092307
NRA‐BK‐00092308 ‐ NRA‐BK‐00092312
NRA‐BK‐00092313 ‐ NRA‐BK‐00092315
NRA‐BK‐00092316 ‐ NRA‐BK‐00092323
NRA‐BK‐00092324 ‐ NRA‐BK‐00092332
NRA‐BK‐00092333 ‐ NRA‐BK‐00092343
NRA‐BK‐00092344 ‐ NRA‐BK‐00092351
NRA‐BK‐00092352 ‐ NRA‐BK‐00092354
NRA‐BK‐00092356 ‐ NRA‐BK‐00092365
NRA‐BK‐00092366 ‐ NRA‐BK‐00092367
NRA‐BK‐00092368 ‐ NRA‐BK‐00092369
NRA‐BK‐00092370 ‐ NRA‐BK‐00092379
NRA‐BK‐00092380 ‐ NRA‐BK‐00092382
NRA‐BK‐00092383 ‐ NRA‐BK‐00092384
NRA‐BK‐00092387 ‐ NRA‐BK‐00092388
NRA‐BK‐00092859 ‐ NRA‐BK‐00093083
NRA‐BK‐00104465 ‐ NRA‐BK‐00104472
NRA‐BK‐00104822 ‐ NRA‐BK‐00104824
NRA‐BK‐00114062 ‐ NRA‐BK‐00114069
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NRA‐NYAG Beg Bates   NRA‐NYAG End Bates
NRA‐NYAG‐00002290    NRA‐NYAG‐00002293
NRA‐NYAG‐00002298    NRA‐NYAG‐00002301
NRA‐NYAG‐00002302    NRA‐NYAG‐00002305
NRA‐NYAG‐00002360    NRA‐NYAG‐00002363
NRA‐NYAG‐00002364    NRA‐NYAG‐00002367
NRA‐NYAG‐00002396    NRA‐NYAG‐00002400
NRA‐NYAG‐00002413    NRA‐NYAG‐00002417
NRA‐NYAG‐00002422    NRA‐NYAG‐00002425
NRA‐NYAG‐00002426    NRA‐NYAG‐00002429
NRA‐NYAG‐00002434    NRA‐NYAG‐00002438
NRA‐NYAG‐00002499    NRA‐NYAG‐00002502
NRA‐NYAG‐00002559    NRA‐NYAG‐00002562
NRA‐NYAG‐00002563    NRA‐NYAG‐00002566
NRA‐NYAG‐00002575    NRA‐NYAG‐00002578
NRA‐NYAG‐00002587    NRA‐NYAG‐00002590
NRA‐NYAG‐00002599    NRA‐NYAG‐00002602
NRA‐NYAG‐00002607    NRA‐NYAG‐00002610
NRA‐NYAG‐00002627    NRA‐NYAG‐00002631
NRA‐NYAG‐00002644    NRA‐NYAG‐00002647
NRA‐NYAG‐00002661    NRA‐NYAG‐00002665
NRA‐NYAG‐00002666    NRA‐NYAG‐00002669
NRA‐NYAG‐00002684    NRA‐NYAG‐00002687
NRA‐NYAG‐00002688    NRA‐NYAG‐00002691
NRA‐NYAG‐00002692    NRA‐NYAG‐00002695
NRA‐NYAG‐00005011    NRA‐NYAG‐00005014
NRA‐NYAG‐00005015    NRA‐NYAG‐00005018
NRA‐NYAG‐00005019    NRA‐NYAG‐00005022
NRA‐NYAG‐00005023    NRA‐NYAG‐00005026
NRA‐NYAG‐00005035    NRA‐NYAG‐00005038
NRA‐NYAG‐00005059    NRA‐NYAG‐00005062
NRA‐NYAG‐00005067    NRA‐NYAG‐00005070
NRA‐NYAG‐00005071    NRA‐NYAG‐00005074
NRA‐NYAG‐00005075    NRA‐NYAG‐00005079
NRA‐NYAG‐00005096    NRA‐NYAG‐00005100
NRA‐NYAG‐00005144    NRA‐NYAG‐00005147
NRA‐NYAG‐00005215    NRA‐NYAG‐00005218
NRA‐NYAG‐00005219    NRA‐NYAG‐00005229
NRA‐NYAG‐00005230    NRA‐NYAG‐00005233
NRA‐NYAG‐00005242    NRA‐NYAG‐00005245
NRA‐NYAG‐00005246    NRA‐NYAG‐00005249
NRA‐NYAG‐00005276    NRA‐NYAG‐00005279
NRA‐NYAG‐00005300    NRA‐NYAG‐00005303
NRA‐NYAG‐00005312    NRA‐NYAG‐00005315
NRA‐NYAG‐00005320    NRA‐NYAG‐00005323
NRA‐NYAG‐00005324    NRA‐NYAG‐00005327
NRA‐NYAG‐00005400    NRA‐NYAG‐00005403
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NRA‐NYAG‐00005412   NRA‐NYAG‐00005415
NRA‐NYAG‐00005426   NRA‐NYAG‐00005429
NRA‐NYAG‐00006996   NRA‐NYAG‐00006999
NRA‐NYAG‐00007000   NRA‐NYAG‐00007003
NRA‐NYAG‐00007040   NRA‐NYAG‐00007043
NRA‐NYAG‐00007076   NRA‐NYAG‐00007079
NRA‐NYAG‐00007119   NRA‐NYAG‐00007122
NRA‐NYAG‐00007157   NRA‐NYAG‐00007160
NRA‐NYAG‐00007185   NRA‐NYAG‐00007188
NRA‐NYAG‐00007197   NRA‐NYAG‐00007200
NRA‐NYAG‐00007201   NRA‐NYAG‐00007204
NRA‐NYAG‐00007237   NRA‐NYAG‐00007240
NRA‐NYAG‐00007262   NRA‐NYAG‐00007265
NRA‐NYAG‐00007314   NRA‐NYAG‐00007317
NRA‐NYAG‐00007374   NRA‐NYAG‐00007377
NRA‐NYAG‐00007404   NRA‐NYAG‐00007407
NRA‐NYAG‐00009428   NRA‐NYAG‐00009431
NRA‐NYAG‐00009432   NRA‐NYAG‐00009435
NRA‐NYAG‐00009529   NRA‐NYAG‐00009532
NRA‐NYAG‐00009555   NRA‐NYAG‐00009558
NRA‐NYAG‐00009559   NRA‐NYAG‐00009564
NRA‐NYAG‐00009579   NRA‐NYAG‐00009582
NRA‐NYAG‐00009595   NRA‐NYAG‐00009598
NRA‐NYAG‐00009652   NRA‐NYAG‐00009655
NRA‐NYAG‐00009695   NRA‐NYAG‐00009698
NRA‐NYAG‐00009699   NRA‐NYAG‐00009702
NRA‐NYAG‐00009715   NRA‐NYAG‐00009718
NRA‐NYAG‐00009727   NRA‐NYAG‐00009730
NRA‐NYAG‐00009731   NRA‐NYAG‐00009734
NRA‐NYAG‐00009735   NRA‐NYAG‐00009763
NRA‐NYAG‐00009772   NRA‐NYAG‐00009775
NRA‐NYAG‐00009780   NRA‐NYAG‐00009783
NRA‐NYAG‐00009784   NRA‐NYAG‐00009787
NRA‐NYAG‐00009809   NRA‐NYAG‐00009812
NRA‐NYAG‐00009831   NRA‐NYAG‐00009834
NRA‐NYAG‐00009844   NRA‐NYAG‐00009847
